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                    UNITED STATES BANKRUPTCY COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

In Re:                           Case No. 8:24-bk-5243-CPM
XAVIER CHARLES ALEXANDER WASHING II            Chapter 13

            Debtor.
_________________________/

                                  PROOF OF SERVICE

       I HEREBY CERTIFY a true and correct copy of the Order Sustaining Objection to Claim
#6 of LVNV Funding, LLC (Docket #21) filed as Docket entry #31 has been furnished by U.S.
Mail or electronic filing notice to the following:

Jon Waage, Chapter 13 Trustee
Xavier Washington, Debtor, 6211 S MacDill Ave, Unit 1, Tampa, FL 33611
LVNV Funding, LLC, 55 Beattie Place, Ste 110, Greenville, SC 29601
LVNV, LLC, c/o David Lamb, person filing claim, P.O. Box 10587, Greenville, SC 29603-0587
LVNV Funding, LLC, c/o registered agent Corporation Service Company, 1201 Hays St,
Tallahassee, FL 32301
LVNV Funding, LLC, attn: Bryan Faliero, President, 55 Beattie Place, Ste 110, Greenville, SC
29601
Resurgent Capital Services, P.O. Box 10587, Greenville, SC 29603-0587
Resurgent Capital Services, P.O. Box 10368, Greenville, SC 29603
Resurgent Capital Services, attn.: Robert Roderick, CEO, 15 South Main St. #600, Greenville,
SC 29601

This 24th day of January, 2025.

                                         /s/ Kelley M. Petry_____________
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